Case 25-14985 Doc25 Filed 06/23/25 Page 1 of 46

ALM Mitielgiar-licelamcom(e(-telii amt cel! meer-1-1-h

Debtor 1 ANTONICIA HOLMES

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing)

cm

First Name Middle Name Last Name
OT Gr

United States Bankruptcy Court for the: District of Maryland

case number WS —-/(GUIGRS

(If Known)

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

Soneck if this is an

amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form, If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B; Property (Official Form 106A/B)
ta. Copy line 55, Total real estate, from Schedule AV/B .........cccccccccccccceecceseceeseseseceesesesssesuscesssessessssecsseeesseserssecsseeessseseee

1b. Copy line 62, Total personal property, from Schedule A/B uo... cccessereessseteeeeeeees spociea tea mere EreaROREN pS

1c. Copy line 63, Total of all property on Schedule A/B uu... SACO TRL SIET CER RL EAT EE RATSS TREES IG RR NT SEEN TRESTLE ESTES

Summarize Your Liabilities

Your assets
Value of what you own

$ 749,000.00
$ 2,281,761.78
$

3,030,761.78

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

Your liabilities
Amount you owe

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........ $ 355,889.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F .........ccccceccecseescssseseseeneesees $ 3,450.35
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............... EES See + $ 281,062.35
Your total liabilities $ 640,401.70
Summarize Your Income and Expenses
4, Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule Io... ccc cceccecscesseesecvssvsevsseveveeevevenseesees ineaaeresveeranrers $ 1,436.00
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHEQUIC J oo.....ecceccccccccseeessceseersesnenensersees SS SSURSUT EH dy usenet saat ia eacteviaas $ 9,342.00
Official Form 106Sum Wo Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 ANTONICIA HOLMES
First Name Middle Name Last Name

ree oeewer These Questions for Administrative and Statistical Records

of 46

Case number (if known) a 5- a 25

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

Yes

7. What kind of debt do you have?

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.

§ 159.

[_] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

[_] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

1,436.00

Total claim
| From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 3,450.35
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 214,392.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00
9g. Total. Add lines 9a through 9f. $ 217,842.35
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

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LMM Meo etircl ecole m CoM Colla a mh ell met: ioe

Debtor 1 ANTONICIA HOLMES

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing)

First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Maryland

= = V| Check if this is an

Case number SS -
(If known) A? / ITES amended filing

Official Form 106A/B
Schedule A/B: Property 12/45

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

aie Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

| 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
| [_] No. Go to Part 2.

Yes. Where is the property?
| What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Single-family home the amount of any secured claims on Schedule D:

1.1. 6008 SUZANNE ROAD
= Creditors Who Have Claims Secured by Property.

| Street address, if available, or other description Duplex or multi-unit building

the entireties, or a life estate), if known.
Who has an interest in the property? Check one. fee simple

| Debtor 1 only
L] Debtor zany [| Check if this is community property
C] Debtor 1 and Debtor 2 only (see instructions)

C] At least one of the debtors and another

5 Condominium or cooperative Current value of the Current value of the
| [| Manufactured or mobile home entire property? portion you own?
| wien ME __SOGOTeat  [] Land $ 475,000.00 $ 475,000.00
| City State ZIP Code oO Investment property
CHARLES-MD C] Timeshare Describe the nature of your ownership
| County [] Other interest (such as fee simple, tenancy by |
|

Other information you wish to add about this item,
such as local property identification number:

APN: 08037426; Book 11409, at Page 492

|
|
|
If you own or have more than one, list here:
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
1.2 Westgate Vacation Villas Resort Cc] Single-family home the amount of any secured claims on Schedule D:
Street address, if available, or other description CO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
7700 Westgate Blvd CJ Condominium or cooperative Current value of the Current value of the
| a [_] Manufactured or mobile home entire property? portion you own?
| Kissimmee FL 34747
| City aaa ai caee [_] Land $ 274,000.00 $ 274,000.00 |
[_] Investment property |
OSCEOLA-FL Timeshare Describe the nature of your ownership
County C] Other interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

| Who has an interest in the property? Check one. fee simple

Debtor 1 only
[_] Debtor 2 only

[_] Check if this is community property
[_] Debtor 1 and Debtor 2 only (see instructions)

|
| [_] At least one of the debtors and another
|
|

Other information you wish to add about this item,
such as local property identification number:

Phase XXIV; Book 1488, at Page 1068; VVA/01 / 40
/ ODD & VVA/01 / 47 / EVEN

Le ——————————————————

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 ANTONICIA

HOLMES

Case number (if known) no- IY 98S

First Name Middle Name

Last Name

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number Here, ............0..ccccccsccessessesesessseseeeeevsvseseeeecceeseescavaceeieaeeesacacereatseesenenes >| 5

io Describe Your Vehicles

[_] No

Yes

3:4 Make: Honda
Model Civic
Year: 2016

Approximate mileage:

Other information:

Who has an interest in the property? Check one.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Debtor 1 only

L)
L)
O

3.2. Make: Chevy
Model
Year: 2018

Other information:

Cruze HB

Approximate mileage: 135000

If you own or have more than one, describe here:

Who has an interest in the property? Check one.

O OOON

3.3. Make: Ford
Model Focus
Year: 2010

Other information:

Approximate mileage: 152000

Who has an interest in the property? Check one.

¥

Oh OOON

No
[_] Yes

Debtor 2 only
Debtor 1 and Debtor 2 only
At least one of the debtors and another

Check if this is community property (see
instructions)

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Check if this is community property (see
instructions)

Official Form 106A/B

Schedule A/B: Property

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

|
Do not deduct secured claims or exemptions. Put |
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 7,800.00 $ 7,800.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

|
Current value of the Current value of the |
entire property? portion you own?

$ 5,400.00 $ 5,400.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 2,900.00 $ 2,900.00

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

page 2

Case 25-14985 Doc25 Filed 06/23/25 Page 5 of 46

—_4¢ a
Debtor1 ANTONICIA HOLMES Case number (if known) eS } 19 BS
First Name Middle Name Last Name
Make: Oe Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
Model =i Debtor 1 only the amount of any secured claims on Schedule D:
— Creditors Who Have Claims Secured by Property. |
Year: [_] Debtor 2 only |
Other inf ti [_] Debtor 1 and Debtor 2 only Current value of the Current value ofthe —
er information: ; ;
CJ At least one of the debtors and another entire property? portion you own?
CE] Check if this is community property (see $ $ |
instructions) |

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here. 0.00.00... cece eee cncce eee eeeeeeeeeseeeeenessaseeenesneeesnesnaeseeneeeaees > 1/5 16,100.00
|
Official Form 106A/B Schedule A/B: Property page 3

Debtor1 ANTONICIA

Case 25-14985 Doc 25 Filed 06/23/25 Page 6 of 46
HOLMES Case number (if known) 25 -/99 SS

First Name

Middle Name Last Name

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

[_] No

Yes. Describe. .......

7. Electronics

Living Room set (2), Dining Room set (1), Bedroom Furniture (3), Beds (3), Dishes, Silverware
set (1)

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

[_] No

Yes. Describe. .......

8. Collectibles of value

Printer (2), Laptop (1), Television (5), Cellphone (1)

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No
[_] Yes. Describe. .......

9. Equipment for sports and hobbies

Examples. Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

[¥] No

[_] Yes. Describe. .......

10. Firearms

Examples: Pistols, rifles,

[¥] No

[_] Yes. Describe. .......

11. Clothes

shotguns, ammunition, and related equipment

Examples. Everyday clothes, furs, leather coats, designer wear, shoes, accessories

[_] No

Yes. Describe. .......

12. Jewelry

Everyday Clothes, everyday shoes, accessories

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver

No
[_] Yes. Describe. .......

Official Form 106A/B

Schedule A/B: Property

Current value of the
portion you own?
Do not deduct secured claims

|
or exemptions.

$ 7,000.00

$ 850.00

$ 1,000.00

page 4

Case 25-14985 Doc25 Filed 06/23/25 Page 7 of 46
Debtor1 ANTONICIA HOLMES Case number (if known

) RS-147ES

First Name Middle Name Last Name

13. Non-farm animals
Examples: Dogs, cats, birds, horses

| No
[_] Yes. Describe. ....... $

| 14. Any other personal and household items you did not already list, including any health aids you did not list

No
|
| [_] Yes. Give specific $
information. ..........

| 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that mumber here. .......0..0.. ccc cesses ceecscsesesecsscsssesescaecscsenscseeessesescnevscaenenseessesieesereseseseaetsessaseeeees > |3 8,850.00

Official Form 106A/B Schedule A/B: Property page 5

Case 25-14985 Doc25 Filed 06/23/25 Page 8 of 46
Debtor? ANTONICIA HOLMES nme 5-6 YIVES

First Name Middle Name Last Name

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims |
or exemptions. |

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

VOS oi cecccererereees Institution name:
17.1 Checking account: Relay Financial $ 31.00
17.2 Checking account: Charles Schwab $ 25.00
17:93 Checking account: Sutton Bank / Cashapp $ 52.00

18. Bonds, mutual funds, or publicly traded stocks
Examples. Bond funds, investment accounts with brokerage firms, money market accounts

No
[] YOS..c essere Institution or issuer name:
5 |
|
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in |
an LLC, partnership, and joint venture
|
[_] No |
Yes. Give specific
information about
them .................. Name of entity: % of ownership:
The Rujalan Group, LLC 100 % $ 100.00 |
20. Government and corporate bonds and other negotiable and non-negotiable instruments |
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders. |
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
[-] No |
Yes. Give specific
information about
them oo. eee Issuer name: |
First Home Mortgage Corp., Security Instrument (Note) - (MINS 1000915-0000242402-3) $ 565,741.65 |
Capital One Auto Finance (Note -6205153862853) $ 29,093.04
Navy Federal Credit Union (Note - 4300158558572) $ 27,937.00
Wells Fargo $ 37,800.00
OneMain Financial $ 19,862.44

Official Form 106A/B Schedule A/B: Property page 6

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Debtor1 ANTONICIA HOLMES Case number (if known)
First Name Middle Name Last Name
Mariner Finance $ 4,397.00
Westgate Resorts/Westgate Vacation Villas LLC (Notes - 74395623098-000 & 51098183331- $ 58,079.00
000)
Department of Education/Sallie Mae/Navient/NeInet/FedLoan/Mohela $ 215,000.00
Secretary of the Housing and Urban Development (HUD) (PCD/Note - 1469369647) $ 15,741.65
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
Yes. List each
account separately. Type of account: Institution name:
$
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
No
C] NGS owas Institution name or individual:
$
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
CJ VOSwiwcimaeaiween Issuer name and description:
$
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C, §§ 530(b)(1), 529A(b), and 529(b)(1).
No
LC] VCS ccccccceeeseteeeeee Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
$
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
[ ] No
Yes. Give specific Antonicia Holmes Revocable Trust, Antonicia Holmes Living Trust, Holmes-Carter $ 475,000.00
information about them ..... Living Trust. Contingent interest in the listed Trusts; no current distributions or control.
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples. Internet domain names, websites, proceeds from royalties and licensing agreements
[-] No
Yes. Give specific TheRujalanGroup.com domain g

information about them

25 -1H9SS

|

99.00 |

Official Form 106A/B

Schedule A/B: Property

page 7

Case 25-14985 Doc 25 Filed 06/23/25 Page 10 of 46
Debtor1 ANTONICIA HOLMES Case number (if known)

First Name Middle Name Last Name

Re ARES

27. Licenses, franchises, and other general intangibles
Examples. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
[_] No
Yes. Give specific Comptia Security+CE Certification $ 250.00
information about them .....
Money or property owed to you? Current value of the —
portion you own?
Do not deduct secured
claims or exemptions.
28. Tax refunds owed to you
No
[_] Yes. Give specific information Federal: $
about them, including whether
you already filed the returns State: $
and the tax years. ........ceeeee
Local: $
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No
[_] Yes. Give specific information. ........ Alimony: $
Maintenance: $
Support $
Divorce Settlement: $
Property Settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
[_] Yes. Give specific information. ........ $
31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
[] No
Yes. Name the insurance company
of each policy and list its value. ..... Company name: Beneficiary:
Liberty Mutual ANTONICIA HOLMES $ 500.00
Boston Mutual ANTONICIA HOLMES $ 1,073.00
32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
No
[_] Yes. Give specific information. ........ $
Official Form 106A/B Schedule A/B: Property page 8
Case 25-14985 Doc 25 Filed 06/23/25 Page 11 of 46
Debtor1 ANTONICIA HOLMES Case number (if known) wD /GAES

First Name Middle Name Last Name

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

Examples: Accidents, employment disputes, insurance claims, or rights to sue

[¥] No

E] Yes. Give specific information. ........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

[] No

Yes. Give specific information. ........ Notice of Interest & Equitable personal injury Claim filed into case C-08-C\-
24-000753, claiming an equitable and beneficial interest in the property
known as 6008 Suzanne Road, Waldorf, Maryland 20601, currently titled
under the Antonicia Holmes Revocable Trust. Also, NO! & Equitable personal
injury Claim to be soon filed against Westgate Resorts, Capital One, NFCU
for the subject properties to be titled under the Antonicia Holmes Living Trust.

35. Any financial assets you did not already list

[¥] No

[_] Yes. Give specific information. ........

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that mumber here .......0000.000000ccc ccc ccccccecsccseseseecessccesecnuaescsucssestesusususesssesassevseeessesesesseeecevseenerssenseese =>

Official Form 106A/B Schedule A/B: Property

$

$ 806,030.00 |
|
|
|

$

$ 2,256,811.78

page 9

Case 25-14985 Doc25 Filed 06/23/25 Page 12 of 46
Debtor 1 ANTONICIA HOLMES casanunser omen RO ITT BO

First Name Middle Name Last Name

BE Pescrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.

38.

39.

40.

41.

42

43.

45.

Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6.
[_] Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured claims |

or exemptions.
Accounts receivable or commissions you already earned
[] No
[_] Yes. Describe ....... $

Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

[-] No

[] Yes. Describe ....... $

Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

[] No

[_] Yes. Describe ....... $

Inventory

[] No

[_] Yes. Describe ....... $

Interests in partnerships or joint ventures

[] No

LC] Yes. Describe ....... Name of entity: % of ownership:

0% $

Customer lists, mailing lists, or other compilations

[] No

LC] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

[_] No

[_] Yes. Describe ....... $

. Any business-related property you did not already list

[_] No

[_] Yes. Give specific

information ...........
$
Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part:5. Write that Humber WONG sg ccecsssss espe cee crecrevscenevseyeusieeanieiacdeiniaivesuedsivadsdecersanerearoseosesenrneeennerseerseeerenancenentere > |$ 0.00
Official Form 106A/B page 10

Schedule A/B: Pronertv

Case 25-14985 Doc 25 Filed 06/23/25 Page 13 of 46 25%
Debtor! ANTONICIA HOLMES Cassnunbargrenewny ors dT BS

First Name Middle Name Last Name

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
[] Yes. Go to line 47.

Current value of the

portion you own?
Do not deduct secured claims |
or exemptions.

47. Farm animals

Examples: Livestock, poultry, farm-raised fish

48. Crops—either growing or harvested

[_] No
[_] Yes. Give specific $
information ..........

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

50. Farm and fishing supplies, chemicals, and feed

51. Any farm- and commercial fishing-related property you did not already list

[_] No
[_] Yes. Give specific $
information ..........

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
Tor: Part)6, Write that number here t:0cccceccmpsersccnrece TG ERE RS > 15

Official Form 106A/B Schedule A/B: Property page 11

Case 25-14985 Doc 25 Filed 06/23/25 Page 14 of 46 -
Debtor1 ANTONICIA HOLMES Case number (if known) Ro-17 ISS

First Name Middle Name Last Name

aa Describe All Property You Own or Have an Interest in That You Did Not List Above

| 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No

| [_] Yes. Give specific
information ..........
$
|

54. Add the dollar value of all of your entries from Part 7. Write that number here ..................0...00.00.ccccceeccceseeeeteeeees => $ 0.00
oe cist the Totals of Each Part of this Form

~—~<—~S~<CS~S;

55) Part: Total real-estate, MMe 2 sescccccescsscennmsnneaveceresareranernormnearenenmennsa imran nuuiteradeauiar ira aNTeataATI NN eratue Tea STATS > ¢$ 749,000.00 |
_|
|
| 56. Part 2: Total vehicles, line 5 $ 16,100.00

57. Part 3: Total personal and household items, line 15 $ 8,850.00

58. Part 4: Total financial assets, line 36 $ 2,256,811.78
| 59. Part 5: Total business-related property, line 45 $ 0.00
| 60. Part 6: Total farm- and fishing-related property, line 52 $
|
| 61. Part 7: Total other property not listed, line 54 +5 0.00

62. Total personal property. Add lines 56 through 671. ........... $ 2,281,761.78 | Copy personal property total > |+3 2,281 ,761.78 |
| 63. Total of all property on Schedule A/B. Add line 55 + lin@ 62. oo... ccesesesssessesssssesessssessscsesseessescessseseseeesesecensesecseseues $ 3,030,761.78

Official Form 106A/B Schedule A/B: Property page 12

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ALM am iM alcolstarclitelpmcom (el-ln1diavm ce)! | tet (-1-h
ca)

Debtor 1 ANTONICIA HOLMES
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing)
First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Maryland
Case number 2-14 I2.S V Check if this is an
(If known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

| You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
[J You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

| 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
| Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own?
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief 2016 Honda Civic $ 7,800.00 [ ] $ Md. Cade Ann., Cts. & Jud. Proc.

description: § 11-504(b)(5), Md. Code Ann.,

anemen 100% of fair market value, upto Gig. g Jud. Proc. § 11-504(h);
any applicable statutory limit Md. Cod
Schedule A/B: 3.1 . Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(4);

Brief 2018 Chevy Cruze HB § 5,400.00 [_] $ Md. Code Ann., Cts. & Jud. Proc. |

description: - b)(5), Md d
bine f 100% of fair market value, up to oT ee een,
ine from : fo ; . ; :
any applicable statutory limit Md. Code Ann., Cts. & Jud. Proc.

Schedule A/B; 3.2
§ 11-504(b)(2); Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(b)(4).

Briel oti 2010 Ford Focus $ 2,900.00 [] $ Md. Code Ann., Cts. & Jud. Proc.
escription: 4 Ann.
100% of fair market value, up to F eee Mid! Gods
Line from . ao s. & Jud. Proc. § 11-504(h);
any applicable statutory limit Md. Code A Cts. & Jud. P
Schedule A/B: 3.3 . Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(4).

Brief Living Room set (2), Dining $ 7,000.00 C] $ Md. Code Ann., Cts. & Jud. Proc.
description: Room set (1), Bedroom TTS — § 11-504(b)(5), Md. Code Ann.,

Furniture (3), Beds (3), 100% of fair market value, upto Gg. g& Jud. Proc. § 11-504(b)(4);
; ; any applicable statutory limit ‘ ‘ ‘ '

Official Form 106C Schedule C: The property You Claim as Exempt page 1 of 5
Case 25-14985 Doc 25 Filed 06/23/25 Page 16 of 46
HOLMES

Debtor1 ANTONICIA

First Name Middle Name

cea Additional Page

Last Name

Case number (if known)

RS -1473S

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the Amount of the exemption you claim

portion you own?

Copy the value from Check only one box for each exemption.

Specific laws that allow exemption |

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(5), Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(4);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Living Trust, Holmes-Carter
Living Trust. Contingent
interest in the listed Trusts;

Schedule A/B
Line from
Schedule A/B: 6
_ oti ae Clothes, everyday $ 4,000.00 C] $
escription: shoes, accessories ==
100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 11
Brief Printer (2), Laptop (1), $ 850.00 C] $
description: Television (5), Cellphone (1) ‘nRataIKaAet al Aeiwal ;
© of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 7
tee ; Se ee $ 500.00 C] $
escription: OO
100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 31.1
ettel sia oe $ 1,073.00 [] $
scription: TT OO
100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 31,2
description: WALDORF, MD 2060t-3201 © 7600000 (] $__
ee : - 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 1.1
Brief Westgate Vacation Villas $ 274,000.00 [ ] $
description: Resort, 7700 Westgate Blvd, TTT (Gees Bt eae sceneks ‘
Kissimmee, FL 34747 OF fair market value, up to
: any applicable statutory limit
Line from
Schedule A/B: 1.2
Brief Antonicia Holmes Revocable ¢ 475,000.00 E] $
description: Trust, Antonicia Holmes ck

100% of fair market value, up to
any applicable statutory limit

Official Form 106C

Schedule C: The property You Claim as Exempt

Cts. & Jud. Proc. § 11-504(h). |

Md. Code Ann., Cts. & Jud. Proc.

§ 11-504(b)(5), Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(b)(4); |
Md. Code Ann., Cts. & Jud. Proc. |
§ 11-504(b)(2); Md. Code Ann., |

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(5); Md. Code Ann., |
Cts. & Jud. Proc. § 11-504(b)(4);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann., |
Cts. & Jud. Proc. § 11-504(h). |

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(5); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(2);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(4); Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. & |
Jud. Proc. § 11-504(b)(2); Md. |
Code Ann., Cts. & Jud. Proc. § |
11-504(b)(4); Md. Code Ann.,
Tax-Prop. § 14-811(c).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. &
Jud. Proc. § 11-504(b)(2); Md.

Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,

Tax-Prop. § 14-811(c).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts.& |
Jud. Proc. § 11-504(b)(2); Md. |
Code Ann., Cts. & Jud. Proc. § |

page 2 of 5

Debtor 1

Case 25-14985 Doc 25

ANTONICIA

HOLMES

Filed 06/23/25 Page 17 of 46 _
Case number (if known) AS ~ 149 tS

First Name

Middle Name

Additional Page

Last Name

Brief description of the property and line on

Official Form 106C

Current value ofthe Amount of the exemption you claim
Schedule A/B that lists this property portion you own?
Copy the value from Check only one box for each exemption.
Schedule A/B
no current distributions or
control.
Line from
Schedule A/B: 25
ae 13 er a $ 215,000.00 [_] $
escription: ucation/Sallie Sa Se
Mae/Navient/Neinet/FedLoan/ 100% of fair market value, up to
Mohela any applicable statutory limit
Line from
Schedule A/B: 20.8
Brief Notice of Interest & Equitable ¢ 806,030.00 [] $
description: personal injury Claim filed OO SSR aliermericers '
into case C-08-CV-24- o OF fair Markel vaiue, up to
000753, claiming an equitable any applicable statutory limit
and beneficial interest in the
property known as 6008
Suzanne Road, Waldorf,
Maryland 20601, currently
titled under the Antonicia
Holmes Revocable Trust.
Also, NOI & Equitable
personal injury Claim to be
soon filed against Westgate
Resorts, Capital One, NFCU
for the subject properties to
be titled under the Antonicia
Holmes Living Trust.
Line from
Schedule A/B: 34
Brief First Home Mortgage Corp., $ 565,741.65 [] $
description: Security Instrument (Note) - Se +009 GHAI FRaneaR '
(MINS 1000915-0000242402- 9 OF Tair Market value, up to
3) any applicable statutory limit
Line from
Schedule A/B: 20.1
Brief Capital One Auto Finance $ 29,093.04 [] $
description: (Note -6205153862853) ———————— ten
: 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B; 20.2
Brief Navy Federal Credit Union g 27,937.00 [] $
description: (Note - 4300158558572) TT ee ee
100% of fair market value, up to
oO ————any applicable statutory timit—

Schedule C: The property You Claim as Exempt

Specific laws that allow exemption

11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h);
Md. Code Ann., Tax-Prop. § 14-
811(c).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. &
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(4); Maryland Code —
Courts and Judicial Proceedings
§ 11-504(b)(5); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2); Md. Code Ann.,
Tax-Prop, § 14-811(c).

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(4); Maryland Code —
Courts and Judicial Proceedings
§ 11-504(b)(5); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(2);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(h); Md. Code Ann., Tax-
Prop. § 14-811(c).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. &
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-

page 3 of 5

Debtor 1

Case 25-14985 Doc 25

ANTONICIA

HOLMES

Filed 06/23/25 Page 18 of 46
Case number (if known) mo 1498S

First Name

Middle Name

Additional Page

Last Name

Brief description of the property and line on

Schedule A/B that lists this property

Current value of the
portion you own?

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

Schedule A/B
Line from
Schedule A/B: 20.3
aoe a ee Account Charles $ 25.00 [_] $

escription: chwa TT TO

: 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 17.2
ae oot a Account Relay $ 31.00 CL] $

escription: inancia oe ee

100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 17.1
deccrgiion: Kenic 200 TL) $__

: app TO

100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 17.3
wees wot Wells Fargo $ 37,800.00 C] $

escription: ae —_—

/ 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 20.4
= a OneMain Financial $ 19,862.44 [] $

escription: TTT TS TT

100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 20.5
eriet oti The Rujalan Group, LLC $ 100.00 C] $

escription: ——<————— i

/ 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 19.1

Official Form 106C

Schedule C: The property You Claim as Exempt

Specific laws that allow exemption |

504(b)(5); Md. Code Ann., Cts. &

Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-

504(b)(5); Md. Code Ann., Cts. &

Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-

504(b)(5); Md. Code Ann., Cts. &

Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts, & Jud. Proc, § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-

504(b)(5); Md. Code Ann., Cts. &

Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(h)

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts.
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts.
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts.
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,

Cts. & Jud. Proc. § 11-504(h).

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Debtor1 ANTONICIA

HOLMES

First Name Middle Name

Cr Additional Page

Last Name

Case number (if known) 2S-) YI8SS

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the

Amount of the exemption you claim

portion you own?

Copy the value from

Schedule A/B: 33

Brief Comptia Security+CE
description: Certification
Line from

Schedule A/B: 27

[¥] No

[_] No
[] Yes

Schedule A/B
eet 7 Mariner Finance $ 4,397.00 [] $

escription: —_S

/ 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 20.6
a 2 iDesmansatoapcam $ 99.00 [ ] $

escription: omain —

100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 26
Brief Employment/Personal Injury-  ¢ 325,000.00 [] $
description: — Antonicia Holmes vs Paragon XS TS

Case 18-042-P(CN). ¥| 100% of fair market value, up to
any applicable statutory limit
Line from

250.00 [] $

100% of fair market value, up to
any applicable statutory limit

3. Are you claiming a homestead exemption of more than $214,000?
(Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.)

[| Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Official Form 106C

Schedule C: The property You Claim as Exempt

Check only one box for each exemption.

Specific laws that allow exemption

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. &
Jud. Proc. § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Maryland Code — Courts and
Judicial Proceedings § 11-
504(b)(5); Md. Code Ann., Cts. &
Jud, Proc, § 11-504(b)(2); Md.
Code Ann., Cts. & Jud. Proc. §
11-504(b)(4); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h).

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(4); Maryland Code —
Courts and Judicial Proceedings
§ 11-504(b)(5); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2). Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(b)(7).

Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(4); Maryland Code —
Courts and Judicial Proceedings
§ 11-504(b)(5); Md. Code Ann.,
Cts. & Jud. Proc. § 11-504(h);
Md. Code Ann., Cts. & Jud. Proc.
§ 11-504(b)(2).

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ALM TGMieMiicolmiar-\dlele mcd (el(-Taldi ame]! mer i-m

Debtor 1 ANTONICIA HOLMES
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing)
First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number
(If known)

B5N49 3S

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

(Wf check if this is an

amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

C] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

ae All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.

Column A
Amount of claim
Do not deduct the

Column B Column C
Value of collateral Unsecured
that supports this portion

Who owes the debt? Check one.

Debtor 1 only

[_] Debtor 2 only

[_] Debtor 1 and Debtor 2 only

[_] Atleast one of the debtors and another
L)

Check if this claim is for a
community debt

Disputed

Nature of lien, Check all that apply.

An agreement you made (such as mortgage or
secured car loan)

C] Statutary lien (such as tax lien, mechanic's lien)

C] Judgment lien from a lawsuit

[_] Other (including a right to offset)

As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim If any
2.4 CAPITAL ONE AUTO FINANCE Describe the property that secures the claim: $ 9,850.00 $ 7,800.00 $ 2,050.00
Creditors: Name 2016 HONDA ACCORD, RED; VIN
7933 Preston Rd 2HGFC2F50GH555764
Number Street
As of the date you file, the claim is: Check all that apply.
Contingent
Plano TX 75024 CI Unli ted
City State ZIP Code CL] ma Gate
Disputed
Who owes the debt? Check one.
Nature of lien. Check all that apply.
Debtor 1 only
7 An agreement you made (such as mortgage or
[_] Debtor 2 only secured car loan)
CT Debtor 1 and Debtor 2 only C] Statutory lien (such as tax lien, mechanic's lien)
L] At least one of the debtors and another C] Judgment lien from a lawsuit
[| Other (including a right to offset)
Check if this claim is for a
L community debt
Date debt was incurred 10/31/2019 Last 4 digits of account number 2853
2.1 FIRST HOME MORTGAGE Describe the property that secures the claim: $ 304,825.00 $ 475,000.00 $
ecealtor a Mame 6008 Suzanne Rd, Waldorf, MD 20601. APN#
6211 Greenleigh Ave 08037426;
Number Street
Ste. 300 As of the date you file, the claim is: Check all that apply.
[_] Contingent
Baltimore MD = 22120 [_] Unliquidated
City State ZIP Code

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1of 4

Debtor 1

Case 25-14985 Doc 25 Filed 06/23/25
HOLMES

ANTONICIA

First Name Middle Name

Last Name

Page 21 of 46
Case number (if known) a> IUG8ES-

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

Column A

Column B Column C

Amount of claim Value of collateral Unsecured

Do not deduct the

that supports this portion

by 2.4, and so forth. value of collateral. claim If any
Date debt was incurred 07/24/2020 Last 4 digits of account number 4915
2.5 NAVY FEDERAL CREDIT UNION Describe the property that secures the claim: $ 18,841.00 $ 5,400.00 5 13,441.00
Creditor's Name 2018 Chevy Cruze HB, Red; VIN
P.O. BOX 3700 3G1BE6SM5JS601601
Number Street
As of the date you file, the claim is: Check all that apply.
Contingent
Merrifield VA 22119 CI] Unk; ° tes
City State ZIP Code LJ] nliquidate
Disputed
Who owes the debt? Check one.
Nature of lien. Check all that apply.
Debtor 1 only
An agreement you made (such as mortgage or
L] Debtor 2 only secured car loan)
CJ Debtor 1 and Debtor 2 only [| Statutory lien (such as tax lien, mechanic's lien)
[_] Atleast one of the debtors and another [_] Judgment lien from a lawsuit
[| Other (including a right to offset)
oO Check if this claim is for a
community debt
Date debt was incurred 05/30/2023 Last 4 digits of account number 5725
2.2 WESTGATE VACATION VILLAS Describe the property that secures the claim: $ 5,373.00 $ 25,178.00 $
RESORT Phase XXIV; PIN: R102527-5451-0001-0010;
Creators Narne 7700 Westgate Blvd, Kissimmee, FL 34747
7700 Westgate Blvd
Number Street As of the date you file, the claim is: Check all that apply.
VVA/01/40/ ODD CL] Contingent
pee Unliquidated
Kissimmee FL 34747 CL " quien
City State ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
An agreement you made (such as mortgage or
Debtor 1 only secured car loan)
LC Debtor 2 only C] Statutory lien (such as tax lien, mechanic’s lien)
[] Debtor 1 and Debtor 2 only C] Judgment lien from a lawsuit
[_] Atleast one of the debtors and another [_] Other (including a right to offset)
Oo Check if this claim is fora
community dekt Last 4 digits of account number 2309
Date debt was incurred 07/05/2016
2.3 WESTGATE VACATION VILLAS Describe the property that secures the claim: $ 17,000.00 $ 32,901.00 $
RESORT Phase XXIV; PIN: R102527-5451-0001-0010;
Crenilocs Name 7700 Westgate Blvd, Kissimmee, FL 34747
7700 Westgate Blvd
Number Street As of the date you file, the claim is: Check all that apply.
VVA/01/47/ EVEN [_] Contingent
Kissimmee FL 34747 L] Uniquidated
City Slate ZIP Code Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
An agreement you made (such as mortgage or
| Debtor 1 only secured car loan) °
C] Debtor 2 only [J Statutory lien (such as tax lien, mechanic's lien)
[_] Debtor 1 and Debtor 2 only [_] Judgment lien from a lawsuit

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

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Debtor 1 ANTONICIA HOLMES

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Case number (if known)

First Name Middle Name Last Name

RSE-1978S

Additional Page Column A Column B Column C
; ; ‘ “ ‘ Amount of claim Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the that supports this portion
by 2.4, and so forth. value of collateral. claim if any
[] At least one of the debtors and another C] Other (including a right to offset)
oO Check if this claim is for a
community debt Last 4 digits of account number 3331
Date debt was incurred 09/04/2022
Column A dollar value totals from all pages. $ 355,889.00
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 3of 4

Case 25-14985 Doc 25 Filed 06/23/25 Page 23 of 46
Debtor1 ANTONICIA HOLMES Case number (if known) R2E-/9735S°

First Name Middle Name Last Name

Cr List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here, Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

3.1 | AIS Portfolio Services, LLC On which line in Part 1 did you enter the creditor? 2.4
Name
4515 N Santa Fe Ave Last 4 digits of account number 2853

Number Street

Oklahoma City OK 73118
City State ZIP Code

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 4 of 4

Case 25-14985 Doc 25 Filed 06/23/25 Page 24 of 46

MUM Mo MtireCCemCoM Cella i Amel! | mer: ioe

Debtor 1 ANTONICIA HOLMES

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing)

First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Maryland we

Check if this is an

Case number = G '
(if known) ot S {fq 1 BS amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 412/45

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule

A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

oe List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
[_] No. Go to Part 2.

Yes.

2. List all of your priority unsecured claims. |f a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim _ Priority Nonpriority
amount amount
2.1 Internal Revenue Service Last 4 digits of account number 8757 $ 3,450.35 $ 3,450.35 $

Priority Creditor’s Name

When was the debt incurred? 01/01/2022

Number ‘Stes As of the date you file, the claim is: Check all that apply

L] Contingent
KANSAS CITY MO 64999-0010 C] Unliquidated

Cit State ZIP Code 3
mf el Disputed

Type of PRIORITY unsecured claim:

Who incurred the debt? Check one.

Debtor 1 only /

[_] Debtor 2 only [_] Domestic support obligations

Oo Debtor 1 and Debtor 2 only es m certain other debts you the government
aims for death or personal injury while you were

[__] At least one of the debtors and another L] intexicatad

[_] Check if this claim is fora community debt [_] Other. Specify

Is the claim subject to offset?

No
[_] Yes

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Debtor1 ANTONICIA HOLMES
First Name Middle Name Last Name

Case number (if known)

List ALL of Your NONPRIORITY Unsecured Claims

R514 985

3. Do any creditors have nonpriority unsecured claims against you?
LC] No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes
4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.
Total claim
44 | Capital One Bank USA Last 4 digits of account number 1229 $ 3,027.00
Nonpriority Creditor's Name
P.O. BOX 31293 When was the debt incurred? 07/15/2014
Number = Street
Salt Lake City UT 84131-1293 As of the date you file, the claim is: Check all that apply
City State ZIP Code
[_] Contingent
Who incurred the debt? Check one. 3
[] Unliquidated
Debtor 1 only Disputed
C] Debtor 2 only i ‘“ |
Cl Dabioe Tand Debir'2uney ype of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
oo - oO Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. § F y e nF
er. Speci
No .
CO Yes Credit Card
4.5 | Capital One Bank USA Last 4 digits of account number 1768 $ 1,228.00
Nonpriority Creditor's Name
P.O. BOX 31293 When was the debt incurred? 07/17/2013
Number Street
Salt Lake City UT 84131-1293 As of the date you file, the claim is: Check all that apply
City State ZIP Code
C] Contingent
Who incurred the debt? Check one. OC Unliquidated
Debtor 1 only Disputed
C] Debtor 2 only -
CO Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
Obligations arising out of a separation agreement or divorce
[] Check if this claim is for a community debt CO that you did not report as priority claims
Debts t i fit-sharing pl imi
ts the claln subject to offest? fe] ebts to pension or profit-sharing plans, and other similar debts
Other. Specify
No
CT Yes Credit Card
4.26 | Central Violations Bureau (CVB) Last 4 digits of account number 8601 $ 125.00
Nonpriority Creditor's Name
P.O. BOX 780549 When was the debt incurred? 02/13/2024
Number Street
San Antonio TX 78278-0549 As of the date you file, the claim is: Check all that apply
City State ZIP Code

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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ANTONICIA HOLMES

Case number (if Known)

First Name Middle Name Last Name

Your NONPRIORITY Unsecured Claims - Continuation Page

2S-AIISS

Nonpriority Creditor's Name

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
| Contingent
Who incurred the debt? Check one. C Unliquidated
Debtor 1 only Disputed
Debtor 2 only
T f NONPRIORITY laim:
CT Debtor 1 and Debtor 2 only vhe e Unaeured ebeie
[_] At least one of the debtors and another [_] Student loans
O Obligations arising out of a separation agreement or divorce
[ Check if this claim is for a community debt that you did not report as priority claims
. L] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specif
er. opecily
No
rq Yes Traffic Citation No. E1968601
4.27 | Central Violations Bureau (CVB) Last 4 digits of account number 8602 $ 110.00
Nonpriority Creditor's Name
P.O. BOX 780549 When was the debt incurred? 02/13/2024
Number Street
San Antonio TX 78278-0549 As of the date you file, the claim is: Check all that apply
City State ZIP Code 0
Contingent
Who incurred the debt? Check one. baw
[| Unliquidated
Debtor 4 only Disputed
Debtor 2 only .
ry Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
oo — oO Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Speci
er, opecily
No
C] Yes Traffic Citation No. E1968602
4.21 | Charles County Maryland Last 4 digits of account number 5297 $ 292.50
Nonpriority Creditor's Name
School Bus Safety Program When was the debt incurred? 11/15/2024
Number Street
P.O. BOX 411472
Boston MA 02241-1472 As of the date you file, the claim is: Check all that apply
City State ZIP Code O core ‘
ontingen
Who incurred the debt? Check one. C] Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
L : Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
[_] At least one of the debtors and another [_] Student loans
oO Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
- CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
No
4 Yes Citation No. CR-3445297
4.17 | Charles County Water & Sewer Last 4 digits of account number 1358 $ 195.76
y eo ONES,

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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ANTONICIA HOLMES

Case number (if known) pS-(f{BS

First Name Middle Name Last Name

ira Your NONPRIORITY Unsecured Claims - Continuation Page

200 Baltimore Street

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth.

When was the debt incurred? 05/19/2025

Total claim

Who incurred the debt? Check one.

Debtor 1 only

[_] Debtor 2 only

C] Debtor 1 and Debtor 2 only

[_] At least one of the debtors and another

[_] Check if this claim is for a community debt

Is the claim subject to offset?

[¥] No

C] Contingent
[_] Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:

[__] Student loans

Oo Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[__] Debts to pension or profit-sharing plans, and other similar debts

Other. Specify

Number Street
P.O. BOX 1630
LaPlata MD 20646-1630 As of the date you file, the claim is: Check all that apply
City State ZIP Code Oo Conti '
ontingen
Who incurred the debt? Check one. C] Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
CL] ¥ Type of NONPRIORITY unsecured claim:
[_] Debtor 4 and Debtor 2 only
[_] At least one of the debtors and another [_] Student loans
Ol Obligations arising out of a separation agreement or divorce
[el Check if this claim is for a community debt that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
No ,
= ¥ Water and Sewer Bill
es
4.12 | CITIBANK - HOME DEPOT Last 4 digits of account number 5181 $ 2,400.00
Nonpriority Creditor's Name
P.O, BOX 6045 When was the debt incurred? 09/2020
Number Street
Sioux Falls sD 57117-6405 As of the date you file, the claim is: Check all that apply
City State ZIP Code gO
Contingent
Who incurred the debt? Check one. C Unliquidated
Debtor 1 only Disputed
Debtor 2 only
Ol Debtor and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
a . O Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
LE] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
er. Speci
No
CO Yes Credit Card
4.30 | CITY OF SEAT PLEASANT Last 4 digits of account number 0395 $ 75.00
Nonpriority Creditor's Name
P.O. BOX 17475 When was the debt incurred? 08/01/2024
Number Street
Baltimore MD 21297-1475 As of the date you file, the claim is: Check all that apply
City State ZIP Code

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Debtor 1

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ANTONICIA HOLMES

Case number (if known) Xe-! ¢ 7 $5

First Name Middle Name Last Name

Your NONPRIORITY Unsecured Claims - Continuation Page

Who incurred the debt? Check one.
Debtor 1 only

[_] Debtor 2 only

[_] Debtor 1 and Debtor 2 only

[_] At least one of the debtors and another

[_] Contingent
[_] Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
[__] Student loans

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
0 Yes Camera Citation No. SP41750395
4.9 | CREDIT ONE BANK Last 4 digits of account number 7444 $ 1,817.34
Nonpriority Creditor's Name
P.O.BOX 60500 When was the debt incurred? 11/2021
Number Street
City of Industry CA 91716-0500 As of the date you file, the claim is: Check all that apply
City State ZIP Code gO
Contingent
Who incurred the debt? Check one. ies
[_] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
Oo Dibtor' and Debter'2‘onty Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
oe . Oo Obligations arising out of a separation agreement or divorce
LC] Check if this claim is for a community debt that you did not report as priority claims
ln:the claim subject to offeet? a — or profit-sharing plans, and other similar debts
r. Specify
No
C Yes Credit Card
4.14 | Dept of ED / NELNET/ NAVIENT /FEDLOAN Last 4 digits of account number 1858 $ 184,000.00
Nonpriority Creditor's Name
121 S$ 13TH ST When was the debt incurred? 11/05/2015
Number Street
STE 301
Lincoln NE 68508 As of the date you file, the claim is: Check all that apply
City State ZIP Code /
[_] Contingent
Who incurred the debt? Check one. Cl Unliquidated
Debtor 1 only Disputed
[_] Debtor 2 only
Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
At least one of the debtors and another Student loans
O oO Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
L] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? .
[_] Other. Specify
No
| Yes
4.24 | District Court for Prince George's County Last 4 digits of account number 0SR2 $ 160.00
Nonpriority Creditor's Name
Traffic Adjudication When was the debt incurred? 11/16/2023
Number Street
14735 Main Street, Ste. 173B
Upper Marlboro MD 20772-3042 As of the date you file, the claim is: Check all that apply
City State ZIP Code

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Debtor 1

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ANTONICIA

HOLMES

Case number (if known) RS-/4 GES

First Name Middle Name

Last Name

Loe Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
Obligations arising out of a separation agreement or divorce
E] Check if this claim is for a community debt LJ that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ‘
Other. Specify
¥| No
Cy y. Traffic Citation #SZWOSR2
es
4.25 | District Court for Prince George's County Last 4 digits of account number OSR2 $ 90.00
Nonpriority Creditor's Name
Traffic Adjudication When was the debt incurred? 11/16/2023
Number — Street
14735 Main Street, Ste. 173B
Upper Marlboro MD 20772-3042 As of the date you file, the claim is: Check all that apply
City State ZIP Code gO Cant f
‘ontingen
Who incurred the debt? Check one. C] Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
L Pee Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
At least one of the debtors and another L) Student loans
O O Obligations arising out of a separation agreement or divorce
LJ Check if this claim is for a community debt that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ‘
Other. Specify
v¥| No
Cy Y Traffic Citation #SZ2X0SR2
es
4.22 | DISTRICT OF COLUMBIA Last 4 digits of account number 0407 $ 200.00
Nonpriority Creditor's Name
ADJUDICATION SERVICES When was the debt incurred? 03/27/2025
Number Street
P.O. BOX 37135
Washington DC bc 20013 As of the date you file, the claim is: Check all that apply
City State ZIP Code Oo Conti t
ontingen
Who incurred the debt? Check one. C] Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
LC) ¥ Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
[_] At least one of the debtors and another [_] Student loans
Oo Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
[| Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Spacify
No ,
7 Yes Citation No. D053530407
4.10 | ELASTIC FINANCE Last 4 digits of account number 6765 $ 4,290.00
Nonpriority Creditor's Name
Number Street
P.O.BOX 950276
Louisville KY 40295-0276 As of the date you file, the claim is: Check all that apply
City State ZIP Code oO Conti
ontingent
Who incurred the debt? Check one.

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Debtor 1

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ANTONICIA HOLMES

Case number (if known) 5-199 8S

First Name Middle Name Last Name

Era Your NONPRIORITY Unsecured Claims - Continuation Page

er listing any entries on iS page, number them beginning wi «a, TOHOWE y 4.9, and so fo 0 claim
After listing tri thi ig ber th beginning with 4.., foll d by 4.5 d forth Total clai
[_] Unliquidated
Debtor 1 only Disputed
Debtor 2 onh
[_] Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
At least one of the debtors and another [_] Student loans
U CO Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
[| Debts to pension or profit-sharing plans, and other similar debts
wn claim subject to offset? Other. Specify
No
Consumer Loan
[ ] Yes
4.31 | EMPOWER FINANCE, INC Last 4 digits of account number 8757 $ 360.50
Nonpriority Creditor's Name
9169 W State St #499 When was the debt incurred? 04/28/2025
Number = Street
Garden City ID 83714 As of the date you file, the claim is: Check all that apply
City State ZIP Code oO
Contingent
Who incurred the debt? Check one. + api
[] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
OC Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
- 0 Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
. C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset?
N Other. Specify
oO
Cy Yau CASH ADVANCE SERVICE APP
4.23 | EXPRESS LANES / Last 4 digits of account number 7854 $ 22.15
Nonpriority Creditor's Name
Transurban (USA) Operations Inc. When waa the debt incurred? 5/23/2025
Number Street
P.O. BOX 23530
Alexandria VA 22304 As of the date you file, the claim is: Check all that apply
City State ZIP Code
C] Contingent
Who incurred the debt? Check one. CT Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
CJ . Type of NONPRIORITY unsecured claim:
C] Debtor 1 and Debtor 2 only
C] At least one of the debtors and another L) Student loans
Oo Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
=] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? .
‘i Other. Specify
°
CT Vue Express Lanes Toll Invoice
4.8 | FIRST SAVINGS-BLAZE Last 4 digits of account number 2401 § 811.00
Nonpriority Creditor's Name
1500 Highline Ave
Number Street

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Debtor 1

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ANTONICIA

HOLMES

Case number (if known) BRS-/9985

First Name Middle Name

Last Name

Ea Your NONPRIORITY Unsecured Claims - Continuation Page

Nonpriority Creditor's Name

2770 Mission Rancheria Rd.

Number = Street

#393
Lakeport CA
City State

Who incurred the debt? Check one.
Debtor 1 only

[_] Debtor 2 only

[_] Debtor 1 and Debtor 2 only

[_] At least one of the debtors and another

[_] Check if this claim is for a community debt

When was the debt incurred? 10/09/2024

As of the date you file, the claim is: Check all that apply
C] Contingent

[_] Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:

[_] Student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
When was the debt incurred? 06/23/2015
Sioux Falls sD As of the date you file, the claim is: Check all that apply
City State
C] Contingent
Who incurred the debt? Check one. O Unliqui
nliquidated
Debtor 1 only Disputed
Debtor 2 only
CO Gskior tend Debior Bonly Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
oO Obligations arising out of a separation agreement or divorce
[2] Check if this claim is for a community debt that you did not report as priority claims
. | LE] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specif
. y
No
Cl Yes Credit Card
4.19 | HARRIS & HARRIS DC Last 4 digits of account number 459A $ 1,920.00
Nonpriority Creditor's Name
P.O. Box 96934 When was the debt incurred? 10/21/2023
Number Street
Washington DC DC As of the date you file, the claim is: Check all that apply
City State
[_] Contingent
Who incurred the debt? Check one. oo
[_] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
CO Debtor 4 and Debtor 2:onty Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
O Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
. | [] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specif
er. Specify
No
C] Yes Tickets: 6826-A $360; 9860-A $240; 0459-A $120;
0943-A $0943; 5864-A $240; 4721-A $240; 5816-A
$240; 7703-A $240
. ayma, a Little Lake Lending ast 4 digits of account number : ;
447 1 LLC dba Little Lake Lendi Last 4 digits of ber 35YL $ 2,131.00

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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HOLMES

ANTONICIA

Case number (if known)

Middle Name

Last Name

First Name

Your NONPRIORITY Unsecured Claims - Continuation Page

R14 935

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
. EJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
¥| No
Consumer Loan
[_] Yes
4.13 | LIBERTY MUTUAL Last 4 digits of account number 4036 $ 1,415.00
Nonpriority Creditor's Name
175 BERKELEY STREET When was the debt incurred? 11/01/2023
Number Street
Boston MA 02116 As of the date you file, the claim is: Check all that apply
City State ZIP Code q
Contingent
Who incurred the debt? Check one. C] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
RITY im:
Cy Diabtor’t and Habtor Sorily Type of NONPRIORITY unsecured claim
C] At least one of the debtors and another LJ Student loans
. . O Obligations arising out of a separation agreement or divorce
[| Check if this claim is for a community debt that you did not report as priority claims
[| Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Siar Seeds
er. Specify
No
C Yes AUTO INSURANCE
4.3 Mariner Finance Last 4 digits of account number 3212 $ 2,839.00
Nonpriority Creditor's Name
8211 TOWN CENTER DRIVE When was the debt incurred? 05/26/2023
Number Street
Baltimore MD 21236 As of the date you file, the claim is: Check all that apply
City State ZIP Code gO
Contingent
Who incurred the debt? Check one.
[_] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
Cr Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] Atleast one of the debtors and another [_] Student loans
- oO Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
. | CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specif
er, Specify
No
[] Yes Consumer Loan
4.28 | Maryland Department of Transportation (MDOT) Last 4 digits of account number 5297 $ 30.00
Nonpriority Creditor's Name
6601 Ritchie Hwy, NE When was the debt incurred? 02/26/2025
Number Street
Attn Admin Flag Unit / Rm 47B
Glen Burnie MD 21062 As of the date you file, the claim is: Check all that apply
City State ZIP Code oO Boni
ontingent
Who incurred the debt? Check one. Cl Unliquidated
Debtor 1 only

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

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HOLMES

ANTONICIA

Case number (if known)

Last Name

First Name Middle Name

Ea Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
Pp g g y
Disputed
Debtor 2 onl
CL) ¥ Type of NONPRIORITY unsecured claim:
[__] Debtor 1 and Debtor 2 only
At least one of the debtors and another [_] Student loans
U 0 Obligations arising out of a separation agreement or divorce
LJ Check if this claim is for a community debt that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
No
Sy Yes Flag for Citation No. CR-3445297
4.29 | Maryland Department of Transportation (MDOT) Last 4 digits of account number 0395 $ 30.00
Nonpriority Creditor's Name
6601 Ritchie Hwy, NE When was the debt incurred? 09/23/2024
Number — Street
Attn Admin Flag Unit / Rm 47B
Glen Burnie MD 21062 As of the date you file, the claim is: Check all that apply
City State ZIP Code ca ners ;
ontingen'
Who incurred the debt? Check one. C Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
LJ " Type of NONPRIORITY unsecured claim:
[_] Debtor 1 and Debtor 2 only
At least one of the debtors and another [_] Student loans
U O Obligations arising out of a separation agreement or divorce
E] Check if this claim is for a community debt that you did not report as priority claims
CL] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
¥| No :
Yes Flag Fee for Citation No. SP41750395
4.7 | MERRICK BANK Last 4 digits of account number 4077 $ 2,247.00
Nonpriority Creditor's Name
PO Box 9201 10705 S Jordan Gtwy When was the debt incurred? 07/17/2013
Number Street
Ste 20
Old Bethpage NY 11804-9001 As of the date you file, the claim is: Check all that apply
City State ZIP Code g Sant ‘
ontingen
Who incurred the debt? Check one. | Unliquidated
Debtor 1 only Disputed
Debtor 2 onl
L) ¥ Type of NONPRIORITY unsecured claim:
LC] Debtor 1 and Debtor 2 only
[_] At least one of the debtors and another [_] Student loans
oO Obligations arising out of a separation agreement or divorce
LC] Check if this claim is for a community debt that you did not report as priority claims
LC] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Specify
No :
O Yes Credit Card
4.15 | MOHELA / NAVIENT Last 4 digits of account number 1370 $ 30,392.00
Nonpriority Creditor's Name
P.O. BOX 9500
Number Street

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 10of 16

Debtor 1

ANTONICIA HOLMES

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Case number (if known)

First Name Middle Name Last Name

Cra Your NONPRIORITY Unsecured Claims - Continuation Page

REB-14985

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
When was the debt incurred? 09/27/2005
Wilkes-Barre PA 18773-9500 As of the date you file, the claim is: Check all that apply
City State ZIP Code O
Contingent
Who incurred the debt? Check one. Cl Unliquidated
Debtor 1 only Disputed
Debtor 2 only
Tt f NONPRIORITY id claim:
LE Debtor 1 and Debtor 2 only wee unsecure eam
[_] At least one of the debtors and another Student loans
Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt L that you did not report as priority claims
. LJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? O ahae Some
er. Speci
Na pecity
C] Yes
4.6 NAVY FEDERAL CREDIT UNION Last 4 digits of account number 9642 $ 2,903.00
Nonpriority Creditor's Name
P.O. BOX 3700 When was the debt incurred? 08/14/2016
Number Street
Merrifield VA 22119 As of the date you file, the claim is: Check all that apply
City State ZIP Code oO
Contingent
Who incurred the debt? Check one. Cc Unliquidated
Debtor 1 only Disputed
Debtor 2 only
Cr Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
E] At least one of the debtors and another L] Student loans
| Obligations arising out of a separation agreement or divorce
[| Check if this claim is for a community debt L that you did not report as priority claims
Debts to pensi fit-shari lans, and other similar debts
Is the claim subject to offset? Einar, P or prommsniening P
er. Specify
No
Cl Yes Credit Card
44 ONEMAIN Last 4 digits of account number 5318 $ 9,026.85
Nonpriority Creditors Name
601 NW 2ND St When was the debt incurred? 04/06/2023
Number Street
Evansville IN 47706-1010 As of the date you file, the claim is: Check all that apply
City State ZIP Code Oo
Contingent
Who incurred the debt? Check one. CO Unliquidated
Debtor 1 only Disputed
Debtor 2 only
OC Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans
oo O Obligations arising out of a separation agreement or divorce
CL] Check if this claim is for a community debt that you did not report as priority claims
ts the:claim subject to offest? oes ; en or profit-sharing plans, and other similar debts
er. Speci
No pecily

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 110f 16

Debtor 1

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ANTONICIA HOLMES

Case number (if known)

First Name Middle Name Last Name

Ca Your NONPRIORITY Unsecured Claims - Continuation Page

25-149 85S

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
oO Yes Consumer Loan
4.16 | SMECO Last 4 digits of account number 0929 $ 2,980.54
Nonpriority Creditor's Name
P.O. BOX 1937 When was the debt incurred? 05/30/2025
Number Street
Hughesville MD 20637-1937 _As of the date you file, the claim is: Check all that apply
City State ZIP Code ry
Contingent
Who incurred the debt? Check one. O Unliquidated
Debtor 1 only Disputed
Debtor 2 only
T f ITY d claim:
Cl Debtor fiend Dabior zeny ype of NONPRIOR unsecured claim
[_] Atleast one of the debtors and another [_] Student loans
J Obligations arising out of a separation agreement or divorce
[_] Check if this claim is for a community debt that you did not report as priority claims
LJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other, Soecif
r. Specify
No
[] Yes Electric Utility Bill
4.20 | SNAP FINANCE / SNAP RTO LLC Last 4 digits of account number 6XMD $ 7,819.48
Nonpriority Creditor's Name
P.O. BOX 26561 When was the debt incurred? 01/24/2025
Number Street
Salt Lake City UT 84126 As of the date you file, the claim is: Check all that apply
City State ZIP Code 0
Contingent
Who incurred the debt? Check one. bari
C] Unliquidated
Debtor 1 only Disputed
Debtor 2 only
f N im:
C Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim
[_] At least one of the debtors and another [_] Student loans
oO Obligations arising out of a separation agreement or divorce
L] Check if this claim is for a community debt that you did not report as priority claims
Z C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Other. Spectt
er. Specify
No
[] Yes Consumer Loan
4.18 | VERIZON FIOS Last 4 digits of account number 0142 $ 645.23
Nonpriority Creditor's Name
P.O. BOX 16801 When was the debt incurred? 04/11/2025
Number Street
Newark NJ 07101-6801 As of the date you file, the claim is: Check all that apply
City State ZIP Code g
Contingent
Who incurred the debt? Check one. C Unliquidated
Debtor 1 only Disputed
Debtor 2 only
O Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
[_] At least one of the debtors and another [_] Student loans

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 12o0f 16

Debtor 1

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ANTONICIA

HOLMES

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Case number (if known) x5-/ 49785

First Name Middle Name Last Name

Ee vou NONPRIORITY Unsecured Claims - Continuation Page

Nonpriority Creditor's Name

P.O. BOX 71092

Number Street

Charlotte NC 28272

City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only

[_] Debter 2 only

LC] Debtor 1 and Debtor 2 only

C] At least one of the debtors and another

[_] Check if this claim is for a community debt

Is the claim subject to offset?

No
L] Yes

When was the debt incurred? 10/06/2022

As of the date you file, the claim is: Check all that apply
| Contingent

[] Untiquidated

Disputed

Type of NONPRIORITY unsecured claim:

[_] Student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[__] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Consumer Loan

After listing any entries on this page, number them beginning with 4.., followed by 4.5, and so forth. Total claim
Obligations arising out of a separation agreement or divorce
LC] Check if this claim is for a community debt L) that you did not report as priority claims
. . C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? .
Other. Specify

No :

Cl Yes Cable Bill
4.2 WELLS FARGO BANK, NA Last 4 digits of account number XXXX $ 17,479.00

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 ANTONICIA HOLMES Case number (if known) 2S-/4 o35

First Name Middle Name Last Name

ee tise Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
CREDIT COLLECTIONS SERV On which entry in Part 1 or Part 2 did you list the original creditor?
Name
725 CANTON ST Line 4.13 of (Check one): [| Part 1: Creditors with Priority Unsecured Claims
Huber soteet Part 2: Creditors with Nonpriority Unsecured Claims
Norwood MA 02062-2679 Last 4 digits of account number 4036
City State ZIP Code
SPRING OAKS CAPITAL On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1400 CROSSWAYS BLVD Line 4.10 of (Check one): [] Part 1: Creditors with Priority Unsecured Claims
Number Steet Part 2: Creditors with Nonpriority Unsecured Claims
STE 100b
Chesapeake VA 23320 Last 4 digits of account number 6765
City State ZIP Code
CARSON SMITHFIELD On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. BOX 9216 Line 4.7 of (Check one): [] Part 1: Creditors with Priority Unsecured Claims
Bmpar alent Part 2: Creditors with Nonpriority Unsecured Claims
Old Bethpage NY 11804-9216 Last 4 digits of account number 4077
City State ZIP Code
CONSERVE / On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Continental Service Group, LLC Line 2.1 of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street [_] Part 2: Creditors with Nonpriority Unsecured Claims
P.O. BOX 9
Fairport NY 14450-0009 Last 4 digits of account number 6492
City State ZIP Code
RGS FINANCIAL, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1700 Jay Ell Drive Line 4.8 of (Check one): [_] Part 1: Creditors with Priority Unsecured Claims
Rimes: Sat Part 2: Creditors with Nonpriority Unsecured Claims
Richardson TX 75081 Last 4 digits of account number 2401
City State ZIP Code
Asset Recovery Solutions, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 14 of 16
Case 25-14985 Doc25 Filed 06/23/25 Page 38 of 46

Case number (if known) HESIVES

Debtor1 ANTONICIA HOLMES
First Name Middle Name Last Name
5250 Old Orchard Rd Line 4.4 of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
Number’ ‘Street Part 2: Creditors with Nonpriority Unsecured Claims
Suite 200
Skokie IL 60077 Last 4 digits of account number 1229
City State ZIP Code
Asset Recovery Solutions, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5250 Old Orchard Rd Line 4.5 of (Check one): C] Part 1: Creditors with Priority Unsecured Claims
Number’ Street Part 2: Creditors with Nonpriority Unsecured Claims
Suite 200
Skokie IL 60077 Last 4 digits of account number 1768
City State ZIP Code

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page 150f 16

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Debtor1 ANTONICIA HOLMES

Case number (if known

First Name

Add the Amounts for Each Type of Unsecured Claim

Middle Name Last Name

) WE-L4IBS

Total claims 6a.
from Part 1

6b.

6c.

6d.

6e.

Total claims 5f.
from Part 2

6g.

6h.

6i.

Gj.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

gj.

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim
$ 0.00
$ 3,450.35
$ 0.00
+ 0.00
$ 3,450.35
Total claim
S 214,392.00
$ 0.00
$ 0.00
+ 66,670.35
$ 281,062.35

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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IMUM MU celdtitlitelem CoM Cel-Tatti amt (el! Lmrer: (1m

Debtor 1 ANTONICIA HOLMES

First Name Middle Name Last Name Check if this is:

Debtor 2 An amended filing
(Spouse, if filing)

First Name Middle Name Last Name [| A supplement showing postpetition chapter 13

United States Bankruptcy Court for the: District of Maryland income as of the following date:

Case number BS- 149 <s

(If Known)

MM/DD/YYYY

Official Form 1061
Schedule I: Your Income 12/45

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment Debtor 1
information.

Debtor 2 or non-filing spouse

If you have more than one job,
attach a separate page with
information about additional
employers. Not employed [_] Not employed

Employment Status [_] Employed [_] Employed

Include part-time, seasonal, or
self-employed work.

Occupation may Include student
or homemaker, if it applies

Occupation

Employer's name

Employer's address

Number Street Number Street

City State Zip Code City State Zip Code

How long employed there?

Official Form 1061 Schedule I: Your Income page 1

Debtor 1

5a.
5b.
5c.
5d.
Se.
5f.

5g.
5h.

8a.

8b.
8c.

8d.

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ANTONICIA HOLMES

First Name Middle Name Last Name

Case number (if known) 25-] Y 7 3 Ss

fie Give Details About Monthly Income

Estimate monthly income as of the date you file this form, If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. — 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +§ 0.00 +$
4. Calculate gross income. Add line 2 + line 3. 4, $ 0.00 $
COPY M6 A HOt os ciccsicccccvsivvsccssansessasssessersacerenreasanamecseanemnnearensaaenNeT EIRENE 4, $ 0.00 $
5. List all payroll deductions:
Tax, Medicare, and Social Security deductions 5a. $ 0.00 $
Mandatory contributions for retirement plans 5b. $ 0.00 $
Voluntary contributions for retirement plans 5c. $ 0.00 $
Required repayments of retirement fund loans 5d. $ 0,00 $
Insurance Se. § 0.00 $
Domestic support obligations 5f. $ 0.00 $
Union dues 5g. §$ 0.00 $
Other deductions. Specify: 5h. +$ 0.00 +$
5h. +6 +$
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f+5g+ 5h. 6. $ 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. Ti $ 0.00 $
8. List all other income regularly received:
Net income from rental property and from operating business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. § 0.00 $
Interest and dividends 8b. § 0.00 $
Family support payment that you, a non-filing spouse, or a
dependent regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c, $ 0.00 $
Unemployment compensation 8d. $ 0.00 $

Official Form 1061

Schedule I: Your Income

page 2

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Debtor1 ANTONICIA HOLMES Case number (if known) RS “4985
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
8e. Social Security 8e. § 0.00 $

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash
assistance that you receive, such as food stamps (benefits under the
Supplemental Nutrition Assistance Program) or housing subsidies.

Specify: 8f. $ 536.00 $

8f $ $

8g. Pension or retirement income 8g. §$ 0.00 $
8h. Other monthly income. Specify: 8h. + §$ 0.00 +$
8h. +§ +§

9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + Bf + Bg + Bh. 9. $ 536.00 $

10, Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.] $ 536.00 | +] $ =|$ 536.00

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: Contributions from my dependent son's monthly SSI payments. Monthly contributions from adult 11. + §$ 900.00
daughter to assist with household bills (e.g., utilities, food, rent)

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. $ 1,436.00

Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?

[_] No.

Yes. Explain: | | expect an increase in income this year. | am applying for unemployment benefits. But | am currently looking for new
employment and should be re-employed by the end of the year.

Official Form 1061 Schedule |: Your Income page 3
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AMM latielenir litem CoM (ella) Ca moll mer: 1 -m

Debtor 1 ANTONICIA HOLMES Check if this'is:
First Name Middle Name Last Name An amended filing

Debtor 2 : ope

repoune. if filing) [] A supplement showing postpetition chapter 13
First Name Middle Name Last Name income as of the following date:

United States Bankruptcy Court for the: District of Maryland

Case number VOo-1dF gS.

(If known)

MM /DD/YYYY

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

i Describe Your Household

1. Is this a joint case?

No. Go to line 2.
[_] Yes, Does Debtor 2 live in a separate household?

[_] No

C Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? Cc No Dependent'’s relationship to Dependent’s Does dependent live
Debtor 1 or Debtor 2 age with you?
Do not list Debtor 1 and Yes. Fill out this information for
Debtor 2. each dependent oo... [] No
HARU CARTER IV 34 Yes
Do not state the dependents’
names.
3. Do your expenses include No

expenses of people other than
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and
any rent for the ground or lot. 4. $

If not included in line 4:

4a. Real estate taxes fa § 3,900.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 3,300.00
4c. Home maintenance, repair, and upkeep expenses Ac. $
4d. Homeowner's association or condominium dues 4d. $

5. Additional mortgage payments for your residence, such as home equity loans 5. $

6. Utilities:
6a, Electricity, heat, natural gas 6a. § 260.00

Official Form 106J Schedule J: Your Expenses page 1

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Debtor1 ANTONICIA HOLMES

First Name Middle Name Last Name

Case number (if known) WS-14V9 ES

Your expenses
6b. Water, sewer, garbage collection 6b. = $ 60.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 107.00
6d. Other Specify: 6d. $
7. Food and housekeeping supplies % $ 500.00
8. Childcare and children’s education costs 8. $
9. Clothing, laundry, and dry cleaning 9. $
10. Personal care products and services 10. $ 50.00
41. Medical and dental expenses 11. $
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $ 100.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $§$
14. Charitable contributions and religious donations 14. §
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20
15a. Life insurance 15a, §$
15b. Health insurance 15b.  §
15c. Vehicle insurance 1c. §$
15d. Other. Specify: 15d. §
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $
17. Installment or lease payments:
17a. Car payments for Vehicle 1 17a, § 362.00
17b. Car payments for Vehicle 2 17b.  § 404.00
17c. Other. Specify: 17c, §
17d. Other. Specify: 17d. §$
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule |, Your Income (Official Form 1061). 18. $
19. Other payments you make to support others who do not live with you.
Specify: 19, $
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. § 209.00
20b. Real estate taxes 20b. §
20c. Property, homeowner's, or renter’s insurance 20c. $

Official Form 106J Schedule J: Your Expenses

page 2

Case 25-14985 Doc 25 Filed 06/23/25 Page 45 of 46

Debtor1 ANTONICIA HOLMES

First Name Middle Name Last Name

Case number (if known) WS-/ YIBS

Your expenses

20d. Maintenance, repair, and upkeep expenses 20d. $ 90.00

20e. Homeowner's association or condominium dues 20e. $
21. Other. Specify: Timeshare monthly payment and bi-annual maintenance fees broken 21. +5

down to monthly cost amount.

22, Calculate your monthly expenses.

22a, Add lines 4 through 21, 22a.) $ 9,342.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b.| §$

22c. Add line 22a and 22b. The result is your monthly expenses. 22c.| $ 9,342.00
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a, $ 1,436.00

23b. Copy your monthly expenses from line 22c above. 23b,  -$ 9,342.00

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c.| $ 0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your

mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

[_] No.

Yes. Explain here: | expect my Mortgage payments to decrease after settlement of case. Also, Homeowners insurance will no longer be

required and utility bills should decrease.

Official Form 106J Schedule J: Your Expenses

page 3

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ALM teldnitlilelem coMle (cinta ma cell] mer: [tm

Debtor 1 ANTONICIA HOLMES

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing)

First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Maryland

— — WV] Check if this is an
—/€é

caserumber XO -/479 3S amended filing

(If Known)

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Sie Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

[¥] No

C] Yes. Name of person

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X Arfacddtos — X

__ Safiature of Debtor 1° Signature of Debtor 2
Date 06/17/2025 Date
MM/ DD f YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

